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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Fairly Odd Treasures, LLC                     )
                                              )
v.                                            )       Case No. 1:18-cv- 7719
                                              )
THE PARTNERSHIPS and                          )       Judge: Rebecca R. Pallmeyer
UNINCORPORATED ASSOCIATIONS                   )
IDENTIFIED ON SCHEDULE “A,”                   )       Magistrate: Susan E. Cox
                                              )
                                              )
                                              )


                                       Voluntary Dismissal

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Fairly Odd Treasures, voluntarily

dismiss any and all claims against defendants without prejudice:

     Store
 Doe Name             ID                               Email
 286 hjiangstore      5932c5282335884acbbad8e5         hjiang89@foxmail.com



Dated: January 25, 2019
                                              Respectfully submitted,



                                              By:       s/David Gulbransen/
                                                      David Gulbransen
                                                      Attorney of Record

                                                      David Gulbransen (#6296646)
                                                      Law Office of David Gulbransen
                                                      805 Lake Street, Suite 172
                                                      Oak Park, IL 60302
                                                      (312) 361-0825 p.
                                                      (312) 873-4377 f.
                                                      david@gulbransenlaw.com
